        Case 2:18-cv-02421-JFW-E Document 210 Filed 08/17/18 Page 1 of 1 Page ID #:3621


                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES-GENERAL


Case No. CV 18-2421-JFW(Ex)                                                              Date: August 17, 2018

Title: BROIDY CAPITAL MANAGEMENT LLC, et al. v. STATE OF QATAR, et al.


DOCKET ENTRY


PRESENT:

               HON. CHARLES F. EICK, JUDGE

                   STACEY PIERSON                                                N/A
                  DEPUTY CLERK                                      COURT REPORTER

ATTORNEYS PRESENT FOR PLAINTIFFS:                         ATTORNEYS PRESENT FOR DEFENDANTS:

               None                                                              None


PROCEEDINGS:        (IN CHAMBERS)


                 The Court has read and considered all papers filed in support of and in opposition to “Defendant
         State of Qatar’s Motion for Protective Order” (“the Motion”), filed August 1, 2018. The previously
         noticed August 24, 2018 hearing date is vacated. The Court has taken the Motion under submission
         without oral argument.

                The Motion is granted. The “[Proposed] Protective Order,” filed August 1, 2018, as Document
         185-1 is hereby issued as the order of the Court.




         cc:      Judge Walter
                  All Counsel of Record




MINUTES FORM 11                                                                           Initials of Deputy Clerk   SP
CIVIL-GEN
